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 May 31, 2022



 VIA ECF

 Hon. Lorna G. Schofield
 United States District Judge
 Thurgood Marshall United States Courthouse
 40 Foley Square
 New York, NY 1000

 Re: Tristant v. Blue Bottle Coffee, LLC. (No. 1:22-cv-03184)

 Dear Judge Schofield:

         This firm represents Defendant Blue Bottle Coffee, LLC. We write with the consent of
 Plaintiff’s counsel to request that the Court set June 13, 2022 as the deadline in which Defendant
 Blue Bottle Coffee, LLC may answer, move or otherwise respond to the Complaint. Defendant
 Blue Bottle Coffee, LLC makes this request because it needs additional time to investigate
 Plaintiff’s claims. This is Defendant’s first request for an extension of the deadline and no other
 deadlines will be impacted by this request. We thank the Court for its consideration of this request.

                                               Respectfully submitted,

                                               /s/ Eli Freedberg


                                               Eli Z. Freedberg



Application GRANTED. By June 13, 2022, Defendant shall answer or otherwise respond to the complaint.

Dated: June 1, 2022
       New York, New York
